         Case 3:23-cr-01922-DCG Document 60 Filed 04/18/24 Page 1 of 1




                                  United States District Court                           FILED
                                       Western District of Texas                      Apr 18 2024
                                          El Paso Division                         Clerk, U.S. District Court
                                                                                      Western District of
                                                                                            Texas

                                                                             By:            MG
                                                                                                     Deputy
UNITED STATES OF AMERICA                            §
                                                    §
vs.                                                 § No: EP:23-CR-01922(1)-DCG
                                                    §
(1) JAVIER RAUL AGUIRRE-ANDRADE                     §
                                                    §
  Defendant
                           ORDER APPOINTING COUNSEL

              This case was referred to this court by Judge David Guaderrama for appointment of

new counsel to represent the Defendant on appeal.

              It is therefore ORDERED that Orlando Mondragon shall be appointed to represent

the Defendant on appeal.



              It is, accordingly, so ORDERED this 18th day of April, 2024.




                                                ______________________________
                                                ANNE T. BERTON
                                                UNITED STATES MAGISTRATE JUDGE
